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                         IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

JOHN DOE,                                            :         Case No. 2:17-CV-538
                                                     :
        PLAINTIFF,                                   :         Judge: Michael H. Watson
                                                     :         Magistrate Judge Elizabeth P.
vs.                                                  :         Deavers
                                                     :
OHIO WESLEYAN UNIVERSITY et al.,                     :
                                                     :
        DEFENDANTS
                                                     :

                 JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

        The parties to this action, by and through their undersigned counsel, and pursuant to Fed.

R. Civ. P. 41, hereby stipulate to the dismissal of this action, with prejudice, with each party to

bear its own costs and attorneys’ fees.

        The parties further stipulate and request that this Court retain jurisdiction of this action to

resolve any disputes that may arise out of the parties’ confidential settlement agreement.


        Respectfully submitted,


 /s/ Natalie M. McLaughlin                               /s/ Roger P. Sugarman
 Natalie M. McLaughlin                                   Roger P. Sugarman
 Vorys, Sater, Seymour and Pease                         Jane K. Gleaves
 LLP                                                     Kegler, Brown, Hill + Ritter Co. LPA
 52 East Gay Street, P.O. Box 1008                       65 E. State Street, Suite 1800
 Columbus, OH 43216-1008                                 Columbus, OH 43215
 Attorney for Defendant Ohio                             Attorneys for Defendant
 Wesleyan University                                     Jane Roe

  /s/ Eric Rosenberg
  Eric J. Rosenberg
  Rosenberg & Ball Co. LPA
  395 North Pearl Street
  Granville, OH 43023
  Attorney for Plaintiff John Doe



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                                       Certificate of Service

        I certify that on April 26, 2018, I filed this court filing with the Clerk of Court using the

CM/ECF system which will send notification of the filing to all registered parties.


                                                      /s/ Eric Rosenberg




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